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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9      SmileDirectClub LLC,                              No. MC-21-00021-PHX-DLR
10                    Petitioner,                         ORDER
11      v.
12      Align Technology Incorporated,
13                    Respondent.
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16            Petitioner SmileDirectClub LLC (“SDC”) currently is a defendant in a nationwide

17     class action lawsuit pending in the United States District Court for the Middle District of
18     Tennessee, Ciccio v. SmileDirectClub, LLC, et al., Case No. 3:19-845. As part of that

19     litigation, SDC served a subpoena duces tecum on Respondent Align Technology

20     Incorporated (“Align”), who is not a party to the Tennessee case. SDC’s subpoena seeks
21     production of fifteen categories of documents. Align objected to the subpoena and refused
22     to produce any documents. Consequently, on April 15, 2021, SDC filed a motion with this

23     Court seeking enforcement of its subpoena. (Doc. 1.) SDC filed its motion here because

24     Align is headquartered in Tempe, Arizona. In response, Align both argues the merits of

25     the subpoena and asks that the Court transfer this matter to the Middle District of Tennessee

26     so that the court overseeing the underlying lawsuit can determine whether the subpoena
27     seeks relevant and proportional information. (Doc. 8.) In reply, SDC “takes no position
28     regarding [Align’s] Motion to Transfer[.]” (Doc. 13.)



     Case 3:21-cv-00427 Document 14 Filed 06/01/21 Page 1 of 2 PageID #: 410
 1            Federal Rule of Civil Procedure 45(f) allows the Court to “transfer a motion under
 2     this rule to the issuing court if the person subject to the subpoena consents or if the court
 3     finds exceptional circumstances.” Here, the entity subject to the subpoena—Align—not
 4     only consents to such a transfer but has affirmatively requested it. The Court therefore
 5     may transfer the motion, and in its discretion finds such a transfer warranted. Indeed, the
 6     issuing court overseeing the underlying litigation is in a superior position to assess the
 7     relevance and proportionality of SDC’s subpoena. Accordingly,
 8            IT IS ORDERED that Align’s motion to transfer (Doc. 8) is GRANTED. This
 9     matter is hereby transferred to the United States District Court for the Middle District of
10     Tennessee.
11            Dated this 1st day of June, 2021.
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                                                     Douglas L. Rayes
16                                                   United States District Judge
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     Case 3:21-cv-00427 Document 14 Filed 06/01/21 Page 2 of 2 PageID #: 411
